Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 1 of 261




                             Exhibit 1
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 2 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 3 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 4 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 5 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 6 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 7 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 8 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 9 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 10 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 11 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 12 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 13 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 14 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 15 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 16 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 17 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 18 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 19 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 20 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 21 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 22 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 23 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 24 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 25 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 26 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 27 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 28 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 29 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 30 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 31 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 32 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 33 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 34 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 35 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 36 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 37 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 38 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 39 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 40 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 41 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 42 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 43 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 44 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 45 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 46 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 47 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 48 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 49 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 50 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 51 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 52 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 53 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 54 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 55 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 56 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 57 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 58 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 59 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 60 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 61 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 62 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 63 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 64 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 65 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 66 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 67 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 68 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 69 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 70 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 71 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 72 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 73 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 74 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 75 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 76 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 77 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 78 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 79 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 80 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 81 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 82 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 83 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 84 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 85 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 86 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 87 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 88 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 89 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 90 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 91 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 92 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 93 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 94 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 95 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 96 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 97 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 98 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 99 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 100 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 101 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 102 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 103 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 104 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 105 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 106 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 107 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 108 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 109 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 110 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 111 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 112 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 113 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 114 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 115 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 116 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 117 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 118 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 119 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 120 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 121 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 122 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 123 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 124 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 125 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 126 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 127 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 128 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 129 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 130 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 131 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 132 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 133 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 134 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 135 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 136 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 137 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 138 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 139 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 140 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 141 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 142 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 143 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 144 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 145 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 146 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 147 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 148 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 149 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 150 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 151 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 152 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 153 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 154 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 155 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 156 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 157 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 158 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 159 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 160 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 161 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 162 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 163 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 164 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 165 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 166 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 167 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 168 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 169 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 170 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 171 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 172 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 173 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 174 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 175 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 176 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 177 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 178 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 179 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 180 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 181 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 182 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 183 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 184 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 185 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 186 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 187 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 188 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 189 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 190 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 191 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 192 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 193 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 194 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 195 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 196 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 197 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 198 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 199 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 200 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 201 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 202 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 203 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 204 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 205 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 206 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 207 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 208 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 209 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 210 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 211 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 212 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 213 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 214 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 215 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 216 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 217 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 218 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 219 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 220 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 221 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 222 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 223 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 224 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 225 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 226 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 227 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 228 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 229 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 230 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 231 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 232 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 233 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 234 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 235 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 236 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 237 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 238 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 239 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 240 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 241 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 242 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 243 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 244 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 245 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 246 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 247 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 248 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 249 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 250 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 251 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 252 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 253 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 254 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 255 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 256 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 257 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 258 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 259 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 260 of 261
Case 1:13-cv-01100-LEK-DEP Document 1-1 Filed 09/06/13 Page 261 of 261
